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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO: 1:21-cv-23709-MGC

     WILSON VILLA,
     and other similarly situated individuals,


              Plaintiff,
     v.

     TURCIOS GROUP CORP., and
     HENRY TURCIOS, individual,

           Defendants.
     ________________________________/

                                          NOTICE OF MEDIATION

     YOU ARE HEREBY NOTIFIED that a Mediation Conference shall be held as follows:

     DATE:                      February 24, 2022

     TIME:                      10:00 A.M.

     HRS. RESERVED:             4 hours

     LOCATION:                  Virtual Mediation
                                Via Zoom

     MEDIATOR:                  Daniel T. Feld, Esq.
                                Certified Circuit Civil Mediator

     FEES:                      Payment due within ten (10) days after Mediation (See attached)

     SUMMARY:                   Please send a summary of the case to the Mediator at least five (5)
                                days prior to the scheduled conference to

             “If you are a person with a disability who needs any accommodations in order to participate in this
     proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please contact the ADA
     Coordinator (800) 514-0301 within two (2) working days of the receipt of the Notice of Mediation.

     The client or representative with full authority to settle, other than counsel, should be present at the
     mediation/arbitration conference. A representative of the insurance company with full authority to
     settle the dispute shall be present.

     All parties acknowledge the mediation/arbitration conference and all communication between the
     parties, their counsel and mediator/arbitrator prior to or after the conference is a privileged
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     proceeding involving confidential communications as set forth in Chapter 44, Florida Statutes. It
     is further acknowledged that the mediator/arbitrator is neutral and may not provide legal service,
     representation or legal advice to participants of the mediation/arbitration conference.

     For each case scheduled for mediation/arbitration, $75.00 per party shall be added to the
     mediator/arbitrator’s time as an administrative set-up fee. This fee is to defray costs of scheduling,
     the confirmation process, conference room space where applicable, and the paperwork/court filings
     undertaken. The minimum charge for a mediation/arbitration conference is two (2) hours or the
     time reserved by the parties. In the event of cancellation less than three (3) business days before
     the conference, the minimum will be charged. Mediation/arbitration rates range from $375.00 to
     $500.00 per hour depending on the complexity of the matter and the number of parties involved.

     It is our company policy that with any mediation/arbitration reserved over four consecutive hours,
     and in all court pre-suit and in-suit disputes, a non-refundable $750.00 deposit is required from
     each party. This is to guarantee the day and it is to be sent to us within three (3) business days from
     the date the Mediation/Arbitration Notice is filed with the Court.

     In the event a dispute arises between the parties or over the Mediator/Arbitrator’s fee, requiring the
     mediator/arbitrator to file Court papers or attend a Court Proceeding, mediator/arbitrator shall be
     entitled to recover from the parties, and their counsel and law firm, jointly and severally, his/her
     fees at the hourly rate of $400.00.

     Unless counsel arranges with the undersigned for his/her client to pre-pay their entire portion of
     the mediation/arbitration fee, counsel and law firm acts as the disclosed principal for purposes of
     the mediator/arbitrator’s fees herein and counsel and law firm and the parties agree that their
     appearance at the mediation/arbitration conference shall make them jointly and severally
     responsible for their respective share of the mediator/arbitrator’s fee. Interest at the rate of 12%
     per annum will be charged on this invoice after it is ten (10) days past due and over.

             WE HEREBY CERTIFY that a true and correct copy of the foregoing was delivered by e-
     mail and/or fax and mailed December 21, 2021, to Counsel of Record listed below.

                                                        ATD Mediation & Arbitration, P.A.
                                                        10125 Emerson Street
                                                        Fort Lauderdale, FL. 33076
                                                        (305) 926-8801 Fax: (954) 693-0673

                                                        By: ___/s/ Cindy Niad Hannah_________
                                                            Cindy Niad Hannah, Esq.
                                                            Florida Bar #: 438545
                                                            MF #: DF-10908
     Copies to Counsel of Record:
     Zandro Palma, Esq.
     Keith R. Gaudioso, Esq.
